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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   PACIFIC MARINE PROPELLERS,                          Case No.: 17cv555-BEN (NLS)
     INC.,
12
                                        Plaintiff,       ORDER DENYING MOTION TO
13                                                       SEAL WITHOUT PREJUDICE
     v.
14
     WARTSILA DEFENSE, INC., et al.,                     [ECF No. 44]
15
                                     Defendants.
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18         On April 20, 2018, the parties filed a Joint Motion for an Order Permitting Plaintiff
19   to File Documents Under Seal. ECF No. 44. Specifically, they seek to file under seal
20   Exhibits 4 and 6 to the Declaration of Nathaniel R. Smith in Support of Joint Motion for
21   Discovery Determination No. 4 (ECF No. 46). Id.
22         A party requesting that the court seal materials attached to a non-dispositive
23   motion must make a particularized showing of good cause. Kamakana v. City and Cnty.
24   of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006). Here, the parties have given no reason
25   the exhibits require sealing other than that Plaintiff designated the documents as
26   “CONFIDENTIAL” when they were produced. ECF No. 44-1 ¶¶ 3-4. This reason is
27   itself not sufficient to constitute good cause. See Durham v. Halibrand Performance
28   Corp., No. 14CV1151 DMS (JLB), 2014 WL 12520130, at *1 (S.D. Cal. Dec. 12, 2014)

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 1   (“That a document is designated confidential pursuant to a protective order is of little
 2   weight when it comes to sealing documents which are filed with the Court.”); Cortina v.
 3   Wal-Mart Stores, Inc., No. 13-CV-02054-BAS-DHB, 2016 WL 4556455, at *1 (S.D. Cal.
 4   Sept. 1, 2016) (“[P]arty’s designation of documents as ‘confidential’ pursuant to such
 5   [protective] order, is not itself sufficient to show good cause.”); San Diego Comic
 6   Convention v. Dan Farr Prods., No. 14-CV-1865 AJB (JMA), 2018 WL 1744536, at *3
 7   (S.D. Cal. Apr. 10, 2018) (“Indeed, some district courts have declined to seal documents
 8   when the sole basis for the request is a protective order that covers them.”).
 9         Thus, the Court DENIES the motion to seal WITHOUT PREJUDICE to parties
10   refiling the motion within 7 days of this order. If the parties wish to refile, they are
11   instructed to include compelling and particularized reasons why the exhibits need to be
12   sealed.
13         IT IS SO ORDERED.
14   Dated: April 25, 2018
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